Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 1 of 19 Page ID #:150



    1 KELLY M. KLAUS (State Bar No. 161091)
        kelly.klaus@mto.com
    2 ELIZABETH A. KIM (State Bar No. 295277)
        elizabeth.kim@mto.com
    3 MUNGER, TOLLES & OLSON LLP
        350 South Grand Avenue
    4 Fiftieth Floor
        Los Angeles, California 90071-3426
    5 Telephone: (213) 683-9100
        Facsimile: (213) 687-3702
    6
        MICHAEL B. DESANCTIS (admitted pro hac vice)
    7 michael.desanctis@mto.com
        MUNGER, TOLLES & OLSON LLP
    8 1155 F Street N.W., Seventh Floor
        Washington, D.C. 20004-1357
    9 Telephone: (202) 220-1100
        Facsimile: (202) 220-2300
   10
        Attorneys for Plaintiffs
   11
                               UNITED STATES DISTRICT COURT
   12
                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   13

   14 Amazon Content Services, LLC;                Case No. 2:18-CV-03325-MWF (AS)
        Columbia Pictures Industries, Inc.;
   15   Disney Enterprises, Inc.; Netflix          DECLARATION OF MICHAEL B.
        Studios, LLC; Paramount Pictures           DESANCTIS IN SUPPORT OF
   16   Corporation; Sony Pictures Television      PLAINTIFFS’ MOTION TO
        Inc.; Twentieth Century Fox Film           COMPEL DEPOSITIONS OF
   17   Corporation; Universal City Studios        DEFENDANTS JASON
        Productions LLLP; Universal Cable          LABOSSIERE AND NELSON
   18   Productions LLC; Universal Television      JOHNSON
        LLC; Warner Bros. Entertainment Inc.,
   19                                              DISCOVERY MATTER
                     Plaintiffs,
   20                                              Judge: Hon. Michael W. Fitzgerald
              vs.
   21                                              Magistrate Judge: Hon. Alka Sagar
      Set Broadcast, LLC d/b/a Setvnow;
   22 Jason Labossiere; Nelson Johnson,            Date: March 26, 2019
                                                   Time: 10:00 a.m.
   23                Defendants.                   Ctrm: 540
                                                   Fact Discovery Cut-off: April 1, 2019
   24                                              Expert Discovery Cut-off: April 29,
                                                   2019
   25                                              Pretrial Conference: July 15, 2019
                                                   Trial: August 6, 2019
   26
                                                   Filed concurrently: Plaintiffs’ Motion to
   27                                              Compel Depositions of Defendants
   28

                                    DESANCTIS DECLARATION I/S/O MOTION TO COMPEL DEPOSITIONS
                                                                 CASE NO. 2:18-CV-03325-MWF (AS)
Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 2 of 19 Page ID #:151



    1               I, Michael B. DeSanctis, hereby declare:
    2        1.     I am a partner in the law firm of Munger, Tolles & Olson LLP, counsel
    3 of record for Plaintiffs in this action. I have knowledge of the matters set forth in

    4 this declaration. If called as a witness, I could and would testify competently to the

    5 facts stated in this declaration.

    6        2.     On September 28, 2018, Plaintiffs properly noticed Mr. Labossiere and
    7 Mr. Johnson’s depositions for October 29 and 30, 2018. Attached hereto as Exhibit

    8 A is a true and correct copy of the deposition notices served by Plaintiffs on

    9 Defendants.

   10        3.     On October 19, 2018, counsel for Defendants, Mr. Joseph Shapiro,
   11 informed me that Defendants would not be appearing for their noticed depositions

   12 on October 29 and 30, 2018 because “the noticed deposition dates do not work for

   13 us” and that “[o]ne significant issue is that Jason Labossiere is currently under house

   14 arrest as a result of unrelated criminal charges.” A true and correct copy of this

   15 email correspondence with Mr. Shapiro is attached as Exhibit B. During a phone

   16 call with Mr. Shapiro regarding this issue, he requested that the depositions be

   17 rescheduled for the third week of November and explained that this delay was

   18 necessary because he would have to “go through a process” to ensure that Mr.

   19 Labossiere could attend a deposition held outside of his home. I agreed to

   20 reschedule the depositions to November 14 and 15, 2018.

   21        4.     After unsuccessfully attempting to confirm the November deposition
   22 dates with Mr. Shapiro, I once more requested dates on which Defendants would be

   23 available to be deposed. Mr. Shapiro stated that he would confer with his clients

   24 about scheduling their depositions during the week of December 17, 2018. Mr.

   25 Shapiro subsequently informed me that he and his clients would only be available

   26 after January 28, 2019.

   27        5.     On January 15, 2019, I requested that Defendants provide me with
   28 deposition dates after January 28. In response, Mr. Shapiro informed me that his
                                                -2-
                                     DESANCTIS DECLARATION I/S/O MOTION TO COMPEL DEPOSITIONS
                                                                  CASE NO. 2:18-CV-03325-MWF (AS)
Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 3 of 19 Page ID #:152



    1 clients had “become pretty unresponsive” and that he was “considering withdrawing

    2 on this case,” but requested a few more days to reach out to his clients. I followed

    3 up with Mr. Shapiro on January 22, and, on January 25, he informed me that he had

    4 “[n]o updates right now.” A true and correct copy of my January 15-25 email

    5 correspondence with Mr. Shapiro is attached as Exhibit C.

    6        6.     Mr. Shapiro subsequently informed me that he was no longer being
    7 paid by his clients and intended to file a notice to withdraw as counsel by February

    8 12 and, as such, would be unable to assist me in scheduling his clients’ depositions.

    9 As of the filing of this Declaration, Mr. Shapiro has not withdrawn.

   10        7.     On February 12, 2019, I served a meet-and-confer request on Mr.
   11 Shapiro regarding Plaintiffs’ intent to file a motion to compel the depositions of Mr.

   12 Labossiere and Mr. Johnson. Attached hereto as Exhibit D is a true and correct

   13 copy of this correspondence. Mr. Shapiro has not met or conferred with me

   14 regarding this matter, nor has he proposed dates and times for a meet-and-confer

   15 conference.

   16        I declare under penalty of perjury under the laws of the United States of
   17 America that the foregoing is true and correct.

   18        Executed on February 22, 2019.
   19

   20

   21                                       By:         /s/ Michael B. DeSanctis
   22                                             MICHAEL B. DESANCTIS
                                                  Attorneys for Plaintiffs
   23

   24

   25

   26

   27

   28
                                                  -3-
                                    DESANCTIS DECLARATION I/S/O MOTION TO COMPEL DEPOSITIONS
                                                                 CASE NO. 2:18-CV-03325-MWF (AS)
Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 4 of 19 Page ID #:153




                     EXHIBIT A




                                                                      Exhibit A Page 4
Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 5 of 19 Page ID #:154




    1 KELLY M. KLAUS (State Bar No. 161091)
      kelly.klaus@mto.com
    2 ELIZABETH A. KIM (State Bar No. 295277)
      elizabeth.kim@mto.com
    3 MUNGER, TOLLES & OLSON LLP
      350 South Grand Avenue
    4 Fiftieth Floor
      Los Angeles, California 90071-3426
    5 Telephone: (213) 683-9100
      Facsimile: (213) 687-3702
    6
      MICHAEL B. DESANCTIS (admitted pro hac vice)
    7 michael.desanctis@mto.com
      MUNGER, TOLLES & OLSON LLP
    8 1155 F Street N.W., Seventh Floor
      Washington, D.C. 20004-1357
    9 Telephone: (202) 220-1100
      Facsimile: (202) 220-2300
   10
      Attorneys for Plaintiffs
   11
   12
   13                             UNITED STATES DISTRICT COURT
   14                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   15
      Amazon Content Services, LLC;                Case No. 2:18-CV-03325-MWF (AS)
   16 Columbia Pictures Industries, Inc.;
      Disney Enterprises, Inc.; Netflix            PLAINTIFFS’ NOTICE OF
   17 Studios, LLC; Paramount Pictures             DEPOSITION OF DEFENDANT
      Corporation; Sony Pictures Television        JASON LABOSSIERE
   18 Inc.; Twentieth Century Fox Film
      Corporation; Universal City Studios          Date: October 29, 2018
   19 Productions LLLP; Universal Cable            Time: 9:00 a.m.
      Productions LLC; Universal Television        Place: Carlton Fields
   20 LLC; Warner Bros. Entertainment Inc.,              Corporate Center Three at
                                                         International Plaza
   21                   Plaintiffs,                      4221 W. Boy Scout Boulevard
                                                         Suite 1000
   22            vs.                                     Tampa, Florida 33602-5300
   23 Set Broadcast, LLC d/b/a Setvnow;            Judge: Hon. Michael W. Fitzgerald
      Jason Labossiere; Nelson Johnson,
   24
                  Defendants.
   25
   26
   27
   28   40091008.1                                                             Exhibit A Page 5
                                          PLAINTIFFS’ NOTICE OF DEPOSITION OF JASON LABOSSIERE
                                                                  CASE NO. 2:18-CV-03325-MWF (AS)
Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 6 of 19 Page ID #:155




    1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    2            PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of
    3 Civil Procedure, Plaintiffs Amazon Content Services, LLC, Columbia Pictures
    4 Industries, Inc., Disney Enterprises, Inc., Netflix Studios, LLC, Paramount Pictures
    5 Corporation, Twentieth Century Fox Film Corporation, Universal City Studios
    6 Productions LLLP, and Warner Bros. Entertainment Inc., (“Plaintiffs”) by and
    7 through their counsel, will take the deposition of Jason Labossiere, under oath. The
    8 deposition will be taken at the offices of Carlton Fields, Corporate Center Three at
    9 International Plaza, 4221 W. Boy Scout Boulevard, Suite 1000, Tampa, Florida
   10 33602-5300, commencing on October 29, 2018 at 9:00 a.m, and continuing day to
   11 day thereafter until completed. The deposition will be taken under oath and will be
   12 conducted before a certified shorthand reporter authorized to administer oaths.
   13            PLEASE TAKE FURTHER NOTICE that Plaintiffs intend to record the
   14 testimony by stenographic method through the instant visual display of the
   15 testimony, and by videotape recording. Plaintiffs reserve the right to use the
   16 videotape at the time of trial. A real-time transcription service such as LiveNote may
   17 also be available for use of counsel.
   18
   19
   20
        DATED: September 28, 2018             MUNGER, TOLLES & OLSON LLP
   21
   22
   23
                                              By:         /s/ Kelly M. Klaus
   24                                                     KELLY M. KLAUS
   25
                                              Attorneys for Plaintiffs
   26
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   28                                                                          Exhibit A Page 6
        40091008.1
                                                    -2-
                                          PLAINTIFFS’ NOTICE OF DEPOSITION OF JASON LABOSSIERE
                                                                  CASE NO. 2:18-CV-03325-MWF (AS)
Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 7 of 19 Page ID #:156




    1 PROOF OF SERVICE
    2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
    3        At the time of service, I was over 18 years of age and not a party to this
      action. I am employed in the County of Los Angeles, State of California. My
    4 business address is 350 South Grand Avenue, Fiftieth Floor, Los Angeles, CA
      90071-3426.
    5
             On September 28, 2018, I served true copies of the following document
    6 described as PLAINTIFFS’ NOTICE OF DEPOSITION OF JASON
      LABOSSIERE on the interested parties in this action as follows:
    7
                               SEE ATTACHED SERVICE LIST
    8
             BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of
    9 the document(s) to be sent from e-mail address Elizabeth.kim@mto.com to the
      persons at the e-mail addresses listed in the Service List. I did not receive, within a
   10 reasonable time after the transmission, any electronic message or other indication
      that the transmission was unsuccessful.
   11
             I declare under penalty of perjury under the laws of the United States of
   12 America that the foregoing is true and correct and that I am employed in the office
      of a member of the bar of this Court at whose direction the service was made.
   13
             Executed on September 28, 2018, at San Francisco, California.
   14
   15
                                                  /s/ Elizabeth A. Kim
   16                                             Elizabeth A. Kim
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   28                                                                           Exhibit A Page 7
        40091008.1
                                                  -3-
                                           PLAINTIFFS’ NOTICE OF DEPOSITION OF JASON LABOSSIERE
                                                                   CASE NO. 2:18-CV-03325-MWF (AS)
Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 8 of 19 Page ID #:157




    1                                   SERVICE LIST
    2
        Joseph Shapiro, #277111
    3   jshapiro@strongandhanni.com
        STRONG & HANNI
    4   102 South 200 East, Suite 800
        Salt Lake City, UT 84111
    5   Telephone: (801) 532-7080
    6   Facsimile: (801) 596-1508

    7 Attorneys for Defendants
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   28                                                                        Exhibit A Page 8
        40091008.1
                                               -4-
                                        PLAINTIFFS’ NOTICE OF DEPOSITION OF JASON LABOSSIERE
                                                                CASE NO. 2:18-CV-03325-MWF (AS)
Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 9 of 19 Page ID #:158




    1 KELLY M. KLAUS (State Bar No. 161091)
      kelly.klaus@mto.com
    2 ELIZABETH A. KIM (State Bar No. 295277)
      elizabeth.kim@mto.com
    3 MUNGER, TOLLES & OLSON LLP
      350 South Grand Avenue
    4 Fiftieth Floor
      Los Angeles, California 90071-3426
    5 Telephone: (213) 683-9100
      Facsimile: (213) 687-3702
    6
      MICHAEL B. DESANCTIS (admitted pro hac vice)
    7 michael.desanctis@mto.com
      MUNGER, TOLLES & OLSON LLP
    8 1155 F Street N.W., Seventh Floor
      Washington, D.C. 20004-1357
    9 Telephone: (202) 220-1100
      Facsimile: (202) 220-2300
   10
      Attorneys for Plaintiffs
   11
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   13                             UNITED STATES DISTRICT COURT
   14                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   15
      Amazon Content Services, LLC;               Case No. 2:18-CV-03325-MWF (AS)
   16 Columbia Pictures Industries, Inc.;
      Disney Enterprises, Inc.; Netflix           PLAINTIFFS’ NOTICE OF
   17 Studios, LLC; Paramount Pictures            DEPOSITION OF DEFENDANT
      Corporation; Sony Pictures Television       NELSON JOHNSON
   18 Inc.; Twentieth Century Fox Film
      Corporation; Universal City Studios         Date: October 30, 2018
   19 Productions LLLP; Universal Cable           Time: 9:00 a.m.
      Productions LLC; Universal Television       Place: Carlton Fields
   20 LLC; Warner Bros. Entertainment Inc.,             Corporate Center Three at
                                                        International Plaza
   21                   Plaintiffs,                     4221 W. Boy Scout Boulevard
                                                        Suite 1000
   22            vs.                                    Tampa, Florida 33602-5300
   23 Set Broadcast, LLC d/b/a Setvnow;           Judge: Hon. Michael W. Fitzgerald
      Jason Labossiere; Nelson Johnson,
   24
                  Defendants.
   25
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   28   40091058.1                                                             Exhibit A Page 9
                                           PLAINTIFFS’ NOTICE OF DEPOSITION OF NELSON JOHNSON
                                                                  CASE NO. 2:18-CV-03325-MWF (AS)
Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 10 of 19 Page ID #:159




     1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
     2            PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of
     3 Civil Procedure, Plaintiffs Amazon Content Services, LLC, Columbia Pictures
     4 Industries, Inc., Disney Enterprises, Inc., Netflix Studios, LLC, Paramount Pictures
     5 Corporation, Twentieth Century Fox Film Corporation, Universal City Studios
     6 Productions LLLP, and Warner Bros. Entertainment Inc., (“Plaintiffs”) by and
     7 through their counsel, will take the deposition of Nelson Johnson, under oath. The
     8 deposition will be taken at the offices of Carlton Fields, Corporate Center Three at
     9 International Plaza, 4221 W. Boy Scout Boulevard, Suite 1000, Tampa, Florida
    10 33602-5300, commencing on October 30, 2018 at 9:00 a.m, and continuing day to
    11 day thereafter until completed. The deposition will be taken under oath and will be
    12 conducted before a certified shorthand reporter authorized to administer oaths.
    13            PLEASE TAKE FURTHER NOTICE that Plaintiffs intend to record the
    14 testimony by stenographic method through the instant visual display of the
    15 testimony, and by videotape recording. Plaintiffs reserve the right to use the
    16 videotape at the time of trial. A real-time transcription service such as LiveNote may
    17 also be available for use of counsel.
    18
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    20
         DATED: September 28, 2018             MUNGER, TOLLES & OLSON LLP
    21
    22
    23
                                               By:         /s/ Kelly M. Klaus
    24                                                     KELLY M. KLAUS
    25
                                               Attorneys for Plaintiffs
    26
    27
    28                                                                            Exhibit A Page 10
         40091058.1
                                                     -2-
                                               PLAINTIFFS’ NOTICE OF DEPOSITION OF NELSON JOHNSON
                                                                      CASE NO. 2:18-CV-03325-MWF (AS)
Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 11 of 19 Page ID #:160




     1 PROOF OF SERVICE
     2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
     3        At the time of service, I was over 18 years of age and not a party to this
       action. I am employed in the County of Los Angeles, State of California. My
     4 business address is 350 South Grand Avenue, Fiftieth Floor, Los Angeles, CA
       90071-3426.
     5
              On September 28, 2018, I served true copies of the following document
     6 described as PLAINTIFFS’ NOTICE OF DEPOSITION OF NELSON
       JOHNSON on the interested parties in this action as follows:
     7
                                SEE ATTACHED SERVICE LIST
     8
              BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of
     9 the document(s) to be sent from e-mail address Elizabeth.kim@mto.com to the
       persons at the e-mail addresses listed in the Service List. I did not receive, within a
    10 reasonable time after the transmission, any electronic message or other indication
       that the transmission was unsuccessful.
    11
              I declare under penalty of perjury under the laws of the United States of
    12 America that the foregoing is true and correct and that I am employed in the office
       of a member of the bar of this Court at whose direction the service was made.
    13
              Executed on September 28, 2018, at San Francisco, California.
    14
    15
                                                   /s/ Elizabeth A. Kim
    16                                             Elizabeth A. Kim
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         40091058.1
                                                   -3-
                                             PLAINTIFFS’ NOTICE OF DEPOSITION OF NELSON JOHNSON
                                                                    CASE NO. 2:18-CV-03325-MWF (AS)
Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 12 of 19 Page ID #:161




     1                                   SERVICE LIST
     2
         Joseph Shapiro, #277111
     3   jshapiro@strongandhanni.com
         STRONG & HANNI
     4   102 South 200 East, Suite 800
         Salt Lake City, UT 84111
     5   Telephone: (801) 532-7080
     6   Facsimile: (801) 596-1508

     7 Attorneys for Defendants
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    28                                                                       Exhibit A Page 12
         40091058.1
                                               -4-
                                          PLAINTIFFS’ NOTICE OF DEPOSITION OF NELSON JOHNSON
                                                                 CASE NO. 2:18-CV-03325-MWF (AS)
Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 13 of 19 Page ID #:162




                      EXHIBIT B




                                                                      Exhibit B Page 13
Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 14 of 19 Page ID #:163


    From:            Joseph Shapiro
    To:              Klaus, Kelly
    Cc:              DeSanctis, Michael; Kim, Elizabeth
    Subject:         depositions and settlement
    Date:            Friday, October 19, 2018 10:32:22 AM




    Kelly,
     
    We need to work out deposition scheduling and have a substantive discussion about settlement,
    including the payment amount.
     
    As a first note, the noticed deposition dates do not work for us. One significant issue is that Jason
    Labossiere is currently under house arrest as a result of unrelated criminal charges.
     
    Please let me know when is a good time for you to talk early next week, preferably Monday.
     
    Regards,
     
    Joseph
     
    Joseph Shapiro
    Intellectual Property and Litigation Attorney
    Strong & Hanni
    102 South 200 East, Ste. 800
    Salt Lake City, UT 84111
    Office: 801-323-2131
    Cell: 801-921-1136
    jshapiro@strongandhanni.com
     


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                                                                                                  Exhibit B Page 14
Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 15 of 19 Page ID #:164




                      EXHIBIT C




                                                                     Exhibit C Page 15
Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 16 of 19 Page ID #:165


    From:            DeSanctis, Michael
    To:              Karen_Thorland@mpaa.org
    Cc:              Klaus, Kelly; Kim, Elizabeth; Ross, Lauren
    Subject:         Fwd: Setvnow
    Date:            Friday, January 25, 2019 5:03:28 PM


    This is frustrating. 


    Begin forwarded message:


           From: Joseph Shapiro <jshapiro@strongandhanni.com>
           Date: January 25, 2019 at 4:17:32 PM EST
           To: "DeSanctis, Michael" <Michael.DeSanctis@mto.com>
           Subject: RE: Setvnow




           No updates right now.

           Joseph

           Joseph Shapiro
           Intellectual Property and Litigation Attorney
           Strong & Hanni
           102 South 200 East, Ste. 800
           Salt Lake City, UT 84111
           Office: 801-323-2131
           Cell: 801-921-1136
           jshapiro@strongandhanni.com


           From: DeSanctis, Michael <Michael.DeSanctis@mto.com>
           Sent: Tuesday, January 22, 2019 9:22 AM
           To: Joseph Shapiro <jshapiro@strongandhanni.com>
           Subject: RE: Setvnow




           Any update on this?

           From: Joseph Shapiro <jshapiro@strongandhanni.com>
           Sent: Wednesday, January 16, 2019 11:37 AM
           To: DeSanctis, Michael <Michael.DeSanctis@mto.com>
           Subject: RE: Setvnow

                                                                     Exhibit C Page 16
Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 17 of 19 Page ID #:166


         Michael,

         I apologize for not reaching out. My clients have become pretty unresponsive at
         this point. I am considering withdrawing on this case. Can I have a couple days to
         reach out to my clients to figure out the strategy they want to pursue?

         Thanks.

         Joseph

         Joseph Shapiro
         Intellectual Property and Litigation Attorney
         Strong & Hanni
         102 South 200 East, Ste. 800
         Salt Lake City, UT 84111
         Office: 801-323-2131
         Cell: 801-921-1136
         jshapiro@strongandhanni.com

         -----Original Message-----
         From: DeSanctis, Michael <Michael.DeSanctis@mto.com>
         Sent: Tuesday, January 15, 2019 12:32 PM
         To: Joseph Shapiro <jshapiro@Strongandhanni.com>
         Subject: Setvnow

         Joseph,

         Have you been able to confirm deposition dates? You had suggested the last week
         of January/first week of February. I know there are some hoops we have to go
         through for Jason, and I want to make sure we have enough time to get it set up


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                                                                                             Exhibit C Page 17
Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 18 of 19 Page ID #:167




                     EXHIBIT D




                                                                      Exhibit D Page 18
Case 2:18-cv-03325-MWF-AS Document 32-1 Filed 02/22/19 Page 19 of 19 Page ID #:168


    From:             DeSanctis, Michael
    To:               Joseph Shapiro
    Cc:               Kim, Elizabeth
    Subject:          Setvnow
    Date:             Tuesday, February 12, 2019 11:01:14 AM



    Joseph,
     
    As we've discussed, Plaintiffs would like to meet and confer pursuant to Civ.
    L.R. 37-1 regarding Defendants' repeated failures to provide their availability
    for the depositions Plaintiffs originally noticed for October 29, 2018, and
    October 30, 2018.  We agreed to reschedule these noticed depositions based
    on your representations that Defendants would make themselves available at a
    later date, but Defendants have consistently failed to provide dates for
    depositions and you appear to be unable to make that happen.  Plaintiffs
    intend to move to compel Defendants to appear for their depositions.  Please
    let us know when you are available to meet and confer within the next 10
    days.  Your failure (as counsel) to comply with the local rules may result in
    sanctions against you pursuant to L.R. 37-4.
     
     
    Michael B. DeSanctis | Munger, Tolles & Olson LLP
    1155 F St. NW | Washington, DC 20004
    Tel: 202-220-1102| Michael.desanctis@mto.com | www.mto.com

                                                  ***NOTICE***
    This message is confidential and may contain information that is privileged, attorney work product or
    otherwise exempt from disclosure under applicable law.  It is not intended for transmission to, or receipt by,
    any unauthorized person.  If you have received this message in error, do not read it.  Please delete it
    without copying it, and notify the sender by separate e-mail so that our address record can be corrected. 
    Thank you.
     




                                                                                                       Exhibit D Page 19
